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PILEL we; ,

 

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

UNITED STATES OF AMERICA, acB, NO ws a os
Cy ey
. POCO 543 SAK
Plaintiff, rue 3 KYM EPO N
Vv. , [42 U.S.C. § 1320a-7b(b) (1) (B):
Tllegal Remunerations; 18 U.S.C.
JOSHUA -PEARSON, § 982 and 28 U.S.C. § 2461 (c)
Criminal Forfeiture]
Defendant.
The United States Attorney charges:. mo we
[42 U.S.C. § 1320a-7b(b) (1) (B)]
rT. INTRODUCTORY ALLEGATIONS.
At times relevant to this Information:
A. Relevant Individuals and Entities
1. Dr. N. Vahedi Pharmacy, Inc., doing business as Fusion Rx

Compounding Pharmacy (“Fusion Rx”), was a pharmacy located at 2001
Westwood Boulevard, Suite A, Los Angeles, California 90025, within
the Central District of California. Fusion Rx operated primarily as_
a multi-state mail order pharmacy and derived the vast majority of
its revenue from filling and refilling, by mail, prescriptions for

compounded medications.

 

 
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2. Navid Vahedi (“Vahedi”) was a resident of Los Angeles,
California, within the Central District of California, who owned and
operated Fusion Rx since its formation in or about February 2009.

3. Joseph S. Kieffer (“Kieffer”), a resident of Los Angeles,
California, owned and operated a business using the name “Sheridan
Medical,” which was formed in California in or about 2011. Sheridan

Medical served as an intermediary between Fusion Rx and individuals

‘referred to as “marketers.” Kieffer, through Sheridan Medical, would

pay “marketers” to generate and steer prescriptions for compounded
drugs to Fusion Rx. Vahedi, through Fusion Rx, would reimburse
Kieffer, through Sheridan Medical, for these referral payments.

4, PHIRX LLC (“PHIRX”) was a Utah corporation formed on or

about May 15, 2014, to “market” compounded drugs to physicians.

‘Defendant JOSHUA PEARSON owned and operated PHIRX, which generated

and steered prescriptions for compounded drugs to Fusion Rx, in
exchange for payments from Kieffer, paid through Sheridan Medical.

B. Compounded Drugs

5. “Compounding” was a practice in which a licensed pharmacist
or a licensed physician combined, mixed, or altered ingredients of a-
drug or multiple drugs to create a drug tailored to the needs of an
individual patient. Compounded drugs were not approved by the United
States Food and Drug Administration (“FDA”), that is, the FDA did not
verify the safety, potency, effectiveness, or manufacturing quality
of compounded drugs and such formulations were not “FDA-approved.”

6. Compounded drugs were prescribed by a physician generally
when an FDA-approved drug did not meet the health needs of a
particular patient. For example, if a patient was allergic to a’
specific ingredient in an FDA-approved medication, such as a dye or a

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preservative, a compounded drug could be prepared excluding the
substance that triggered the allergic reaction. Compounded drugs
would also be prescribed when a patient could not consume a

medication by traditional means, such as an elderly patient or a

|| child who could not swallow an FDA-approved pill and needed the drug

in a liquid form that was not otherwise available. Because
compounded medications were intended to be tailored to the needs of
specific patients, the reimbursement rates for compounded medications
were often higher than those of FDA-approved medications.

Cc. PRICARE

7. PRICARE was a Federal health care program, as defined by 42
U.S.C. § 1302a-7b(f£) (1), that provided health care benefits, items,
and services to Department of Defensé beneficiaries worldwide,
including active duty service members, National Guard and Reserve
members, retirees, their families, and survivors.

8. - TRICARE provided health care benefits for certain
prescription drugs, including certain compounded drugs, that were

medically necessary and prescribed pursuant to TRICARE rules and

regulations.
D. Medicare
‘9. Medicare provided benefits to individuals who were 65 years

and older or disabled. Medicare was administered by the Centers for
Medicare and Medicaid Services, a federal agency under the United
States Department of Health and Human Services. Medicare was a
Federal health care program, as defined by 42 U.S.C. § 1302a-
Tb (£) (1). | |

10. To participate in Medicare, providers, including
pharmacies, were required to submit applications in which the

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providers agreed to comply with all Medicare-related laws and
regulations, including the federal anti-kickback statute (42 U.S.C.
§ 1320a-7b(b)) (the “Anti-Kickback Statute”), which proscribes the
offering, payment, solicitation, or receipt of any remuneration in
exchange for a patient referral or referral of other business for
which payment may be made by any federal health care program. If
Medicare approved a provider’ s application, Medicare assigned the
provider a Medicare “provider number,” which was used for processing
and paying claims. |

11. Medicare reimbursed providers for certain compounded drugs
that were medically necessary to the treatment of a beneficiary’s |
illness or injury, were prescribed by a beneficiary’s physician or a
qualified physician’s assistant acting under the supervision of a
physician, and were provided in accordance with Medicare regulations
and guidelines that, governed whether a particular service or product
would be reimbursed by Medicare.

TI. UNLAWFUL REMUNERATION

 

12. On or about February 10, 2015, in Los Angeles County,
within the Central District of California, and elsewhere, defendant
PEARSON knowingly and willfully solicited and received remuneration,
that is, check number 2162 in the amount of $712,395.44 drawn on |

Sheridan Medical’s First Bank account ending in 6385, in return for

defendant PEARSON, through PHIRX, arranging for and recommending the

purchase and order of compounded drug prescriptions dispensed at

Fusion Rx, a ‘good, service, and item for which payment may be made in

whole and in. part under a Federal health care program, specifically

including TRICARE and Medicare.

 
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. FORFEITURE ALLEGATION
[18 U.S.C. § 982 and 28 U.S.C. § 2461 (c)]

13. Pursuant to Rule 32.2(a), Fed. R. Crim. P., notice is
hereby given that the United States will seek forfeiture as part of
any sentence, pursuant to Title 18, United States Code, Section
982 (a) (7) and Title 28, United States Code, Section 2461(c), in the
event of the defendant PEARSON’s conviction of the offense set forth
in this Information. .

14. If so convicted, defendant PEARSON shall forfeit to the
United states of America the following:

(a) All right, title, and interest in any and all
property, real or personal, that constitutes or is derived, directly
or indirectly, from the gross proceeds traceable to the commission of
any offense.of conviction; and | |

(b) To the extent such property is not available for
forfeiture, a sum of ‘money equal to the total value of the property
described in subparagraph (a). |

15. Pursuant to Title 21, United States Code, Section 853(p),
as incorporated by Title 28, United States Code, Section 2461(c), and
Title 18, United States Code, Section 982(b), defendant PEARSON, if
so convicted, shall forfeit substitute property, up to the total
value of the property described in the preceding paragraph if, asa
result of: any act.or omission of the defendant, the property
described in the preceding paragraph, or any portion thereof (a).
cannot be located upon the exercise of due diligence; (b) has been >
transferred, sold to or deposited with a third party; (c) has been

placed beyond the jurisdiction of the Court; (d) has been

 
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substantially diminished in value; or (e) has been commingled with

other property that cannot be divided without difficulty.

NICOLA T. HANNA
United States Attorney

Seok 1. Geert nee

Deputy Che8, Cries
BRANDON D. -FOX
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